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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


  UNITED STATES OF AMERICA,
                                                           Case No. 06-20465
            Plaintiff,
                                                           Honorable Nancy G. Edmunds
  v.

  D-22 RONALD HATMAKER,

            Defendant.
                                              /


          OPINION ADDRESSING RELEVANT CONDUCT FOR THE PURPOSE OF
       CALCULATING BASE OFFENSE LEVEL FOR COUNT 2 RICO CONSPIRACY TO
                 WHICH DEFENDANT HATMAKER PLEADED GUILTY


         On March 25, 2010, Defendant Hatmaker pleaded guilty to Count Two of the Second

  Superseding Indictment in this criminal matter alleging a conspiracy to participate in the

  affairs of an interstate enterprise through a pattern of racketeering activity in violation of the

  Racketeer Influenced and Corrupt Organization Act (“RICO”), 18 U.S.C. § 1962(d). Under

  the signed Rule 11 agreement, the parties agreed to disagree concerning the applicable

  statutory maximum and sentencing guidelines on Count Two. This matter is now before

  the Court in connection with Defendant Hatmaker’s sentencing, and the Court has reviewed

  the briefs filed by Defendant Hatmaker [Doc. No. 1732] and the government [Doc. No.

  1737] concerning the relevant conduct the Court should consider when calculating the base

  offense level for the RICO conspiracy count to which Defendant Hatmaker pleaded guilty.

         The Court adopts here that portion of its January 14, 2011 Opinion addressing

  relevant conduct disputes in Co-Defendant Aref Nagi’s Case [Doc. No. 1723] discussing
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  the applicable burdens of proof, legal principles, and relevant facts concerning the RICO

  conspiracy charged in Count Two of the Second Superseding Indictment. It observes that

  Defendant Hatmaker pleaded guilty to Count Two, conspiracy to violate RICO laws, 18

  U.S.C. § 1963(d), and that Count Two specifically incorporated all of the racketeering acts

  enumerated in Count One by charging that Defendant “conducted and participated, directly

  and indirectly, in the conduct of the affairs of the enterprise, through a pattern of

  racketeering activity, that is, through the commission of Racketeering Acts One through

  Thirteen as set forth in Count One . . . .” (Second Superseding Indictment.) The Court

  further observes, as it did in its earlier January 14, 2011 Opinion, that:

       Relevant conduct includes, in pertinent part: (1) “all acts or omissions” that the
       defendant “committed, aided, abetted, counseled, commanded, induced,
       procured, or willfully caused”; and (2) “all reasonably foreseeable acts and
       omissions of others in furtherance of the jointly undertaken criminal activity,” that
       occurred during, in preparation for, or in the course of attempting to avoid
       detection or responsibility for the RICO conspiracy.”

  United States v. Tocco, 306 F.3d 279, 286 (6th Cir. 2002) (quoting USSG § 1B1.3(a)(1)(A)

  & (B)).

       In making its relevant conduct determination, the Court relies on Defendant

  Hatmaker’s testimony at his guilty plea [Doc. No. 1368] where he admitted that he

  personally committed Racketeering Act Three (Barton extortion) and knew of and condoned

  Racketeering Acts Nine (Burton/Peters drug conspiracy after 2002) and Eleven (Nagi/Ball

  Jr. drug conspiracy). It also relies on the evidence presented at Co-Defendant trials

  showing that Defendant Hatmaker was a leader of the Highwaymen enterprise during a

  time of significant criminal misconduct and was actively involved in the murder conspiracy




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  of Doug Burnett. (See, e.g., Trial Tr. Vol. 12, C. Miller at 34-37; Trial Tr. Vol. 19, P.

  McDonald at 38-39.)

       Defendant Hatmaker was the Detroit Chapter President from November 2005 until at

  least early fall 2006. Multiple witnesses testified that the Detroit Chapter is the mother

  chapter of the Highwaymen and that its President is the number two ranking official position

  within the club. Chris Miller testified that it was Defendant Hatmaker who told members of

  the Highwaymen to find the “rat” Doug Burnett and that Defendant Hatmaker met privately

  with Co-Defendants Dad Moore and Joe Whiting to discuss the presence of snitches in the

  club. Chris Miller also testified that Defendant Hatmaker personally confronted him and

  asked him whether he was an informant and threatened that, if he was, he would end up

  in a dumpster. (See Trial Tr. Vol. 12, C. Miller at 36, 38, 42-43, 49.)

       Considering Defendant Hatmaker’s testimony at his guilty plea [Doc. No. 1368] and

  the above trial evidence, the conspiracy to murder Doug Burnett (Racketeering Act 12); the

  Barton extortion (Racketeering Act 3), the Burton/Peters drug conspiracy (Racketeering Act

  9), and the Nagi/Ball Jr. drug conspiracy (Racketeering Act 11) constitute relevant conduct

  for purposes of calculating Defendant Hatmaker’s base offense level for the RICO

  conspiracy to which he pleaded guilty.

       SO ORDERED.



                 s/Nancy G. Edmunds
                 Nancy G. Edmunds
                 United States District Judge

  Dated: July 12, 2012



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  I hereby certify that a copy of the foregoing document was served upon counsel of record
  on July 12, 2012, by electronic and/or ordinary mail.

                 s/Carol A. Hemeyer
                 Case Manager




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